                                                                                                                   Lisa   F.Brown, CPM, CFM
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      June            26, 2018

       Mr. Bobby Oakes
       Deputy Building Official, City                     of   Houston
       1002 Washington Ave.
       Houston, TX 77002
       RE:              419         Emancipation      -   Continued        Use as an       R   Occupancy

       Please accept the attached statement                               of intended use for the revised use and support for the
       continued use of                    the   occupancy     for the   structure at 419 Emancipation, from the tenant Southwest
       Key Programs.

       Please note, that per our discussion, the existing Certificate of Occupancy is classified as a Group
       R-1 occupancy and the tena       ould like to modifv their statement of intended use of the hiillding
       toensure thev comolv with the limitations of the R-1 opcupancy. The limitations set forth in the
       revised intended use statement attached, are specifically that the building would be occupied as
       a Congregate Living Facility on a transient basis as defined in the code.


       Furthermore,                   agreed to limit the minimum age of the occupants accepted by the
                                     the   tenant   has
       facility to years of age or older. This exceeds the code limitation of
                              3                                               ½ years that is expressed        2


       specifically in the Building Code and further explained in the International Code Council
       commentary as being capable of self-evacuating in an emergency situation.

       As    reminder the residents are not restrained or detained and have free egress; the residents
                  a


       will       provided medical, acute or custodial care a_s defined in the code, the care
                  not be
       provided will meet the definition  personal care.        f
                                                                                                                                  g
       The            2012        Houston Building Code, classifies              an R-1    occupancy    as   follows:

                       310.3 Residential Group R-1. Residential occupancies containing sleeping units
                       where the occupants are primarily transient in nature, including:
                       Boarding houses (transient) with more than 10 occupants
                       Congregate living facilities (transient)                 with more than     10   occupants

       The applicable defined terms referenced                             in   this   section/these provisions      are:

                       BOARDING HOUSE. A building arranged or used for lodging for compensation,
                       with or without meals, and not occupied as a single-family unit.
                       CONGREGATE LIVING FACILITIES. A building or part thereof that contains sleeping
                       units where residents share bathroom and/or kitchen facilities.
                       INCAPABLE OF SELF-PRESERVATION. Persons because of age, physical
                       limitations, mental limitations, chemical dependency, or medical treatment who
                       cannot respond as an individual to an emergency situation.
                       CUSTODIAL CARE. Assistance with day-to-day living tasks; such as assistance with
                       cooking, taking medication, bathing, using toilet facilities and other tasks of daily
                       living. Custodial care include occupants who evacuate at a slower rate and/or who
                       have mental and psychiatric complications.



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                                                                    EXHIBIT 3
                                                                                                                              Lisa   Brown, CPM, CFM
                                                                                                                                     F.

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                    PERSONAL CARE SERVICE. The care of persons who do not require medical care.
                    Personal care involves responsibility for the safety of the persons while inside the
                    building.

                    TRANSIENT. Occupancy                               of a     dwelling    unit or      sleeping   unit for not more than 30 days.

      I          information addresses any classification concerns of an I-Occupancy. The
           trust this
     licensing application will be revised to coordinate the information contained herein.
     According to the tenant, they will likely submit plans for a change in use to the I occupancy
     to expand the acceptance of the younger residents in the near future.

      Again, thank you                   for    your       time and           consideration.




            USA F. BROWN, CPM, CFM
            Owner, CityCodoGirl Consulting                      &    Training
           CERTIFIED         SUILDING,   HRE,   FLOOD      &   ENE   RGY    INSPECTOR   & PLANS    I   XAIAINER
            KC Cortifiraiton /‡ 5304870              ICC   Preferrari      Provirforu1771




                                   PREFERRED
                                   EDUCATION
                mm                 PROVIDER



      Enclosure:             Statement          of   Intended         Use     -Southwest          Key    Programs




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